          Case 1:22-cr-00580-PAE Document 32 Filed 01/10/23 Page 1 of 1




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The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007
       Re:     United States v. Bashir Hassan Kulmiye, 22 Cr. 580 (PAE)

Dear Judge Engelmayer:

       We respectfully write to request that Your Honor issue the below Proposed Order, and
grant any further relief as necessary, to approve the issuance of a Rule 17(c) subpoena to be
served upon


        Because the contents of this letter relate to the preparation of Mr. Kulmiye’s defense and
case strategy, we intend to file under seal.

                                                         ORDER

       IT IS SO ORDERED that Akin Gump Strauss Hauer & Feld LLP, defense counsel for
Bashir Kulmiye in the above-captioned action, shall be permitted to serve a Rule 17(c) subpoena
on

        The Clerk of Court is requested to terminate the motion at Dkt. No. 31.`


Dated: January __,
               10 2023
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                                                    _____________________________________________
                                                     THE HONORABLE PAUL A. ENGELMAYER, USDJ




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